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                          IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                                  :        CHAPTER 11
                                                         :
 SCUNGIO BORST & ASSOCIATES, LLC, :                               BANKRUPTCY NO. 22-10609(AMC)
                                  :
                              Debtor.                    :
                                                         :

            NOTICE OF IDENTITY OF SBA PLAN TRUST ADMINISTRATOR
        IN CONNECTION WITH THE MODIFIED JOINT PLAN OF LIQUIDATION
       (WITH TECHNICAL MODIFICATIONS) PROPOSED BY SCUNGIO BORST &
     ASSOCIATES, LLC, DEBTOR-IN-POSSESSION, AND THE OFFICIAL COMMITTEE
             OF UNSECURED CREDITORS OF THE ESTATE OF DEBTOR

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On October 20, 2023, the above captioned debtor and debtor in possession (the
 “Debtor”) filed the Modified Joint Plan of Liquidation (with Technical Modifications) proposed
 by Debtor and The Official Committee of Unsecured Creditors of the Estate of Debtor (the
 “Committee”) [D.I. 326] (together with all schedules and exhibits thereto, and as may be
 modified, amended, or supplemented from time to time, the “Plan”) 1 with the United States
 Bankruptcy Court for the Eastern District of Pennsylvania (the “Bankruptcy Court”).

         2.     Article II, Section 2.1 of the SBA Plan Trust Agreement (attached as Exhibit 1.65
 to the Plan) provides for the appointment of one (1) SBA Plan Trust Administrator who shall
 carry out the purposes of the SBA Plan Trust Agreement (the “SBA Plan Trust Administrator”).
 The Debtor and Committee believe it is appropriate, subject to Bankruptcy Court approval, to
 designate Stephen J. Scherf, CPA to serve as the SBA Plan Trust Administrator.

        3.     Stephen J. Scherf, CPA/ABV/CFF, CDBV, CFE, CICA, CIRA, CTP, CVA is a
 professional with 27 years’ experience in bankruptcy proceedings. Mr. Scherf has served in roles of
 Disbursing Agent, Plan Administrator and Liquidating Trustee, as well as in various other capacities,
 within bankruptcy cases.

         4.     Article II, Section 2.4, of the SBA Plan Trust Agreement provides for the SBA Plan
 Trust Administrator to receive compensation from the SBA Plan Trust for his services and, upon
 receipt of appropriate documentation, reimbursement of all reasonable out-of-pocket expenses
 incurred by the SBA Plan Trust Administrator in the course of carrying out his duties.

        5.     The Debtor and Committee propose that the SBA Plan Trust Administrator be
 allowed (a) compensation for his services, payable after the trustee renders such services, not to
 exceed 25 percent on the first $5,000 or less, 10 percent on any amount in excess of $5,000, but

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     Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan.
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 not in excess of $50,000, 5 percent on any amount in excess of $50,000, but not in excess of
 $1,000,000, and 3 percent of such moneys in excess of $1,000,000, upon all moneys disbursed or
 turned over in connection with the SBA Plan Trust Documents by the SBA Plan Trust
 Administrator, and (b) upon receipt of appropriate documentation, reimbursement of all reasonable
 out-of-pocket expenses incurred by the SBA Plan Trust Administrator in the course of carrying out
 his duties.

         6.      Article I.B.1.81 of the Plan provides for a notice to be filed on the docket of this
 Chapter 11 Case prior to the commencement of the Confirmation Hearing identifying the person
 that, subject to Bankruptcy Court approval, will serve as the SBA Plan Trust Administrator.

         7.    The Debtor and Committee believe that Mr. Scherf is well-qualified to serve in the
 role of SBA Plan Trust Administrator.



 Dated: January 4, 2023                        KARALIS PC
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